Case 2:03-cv-02846-SHI\/|-dkv Document 23 Filed 07/21/05 Page 1 of 2 Page|D 37

 

IN THE UNITED sTATEs DISTRICT coURT “H"ED BY-W/_D-C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvISION 05 JUL 20 PH l,: 33
H`UMAS M GOULD
BERTHA HERMAN, C§ERK US ='?§FTF?U(HRT
l§/§`;r§"` ‘ _+;_:M
Plaintiff,
vs. NO. 03-2846-Mav

FIRST TENNESSEE NATIONAL CORP.
a/k/a FIRST 'I‘ENNESSEE BANK ASSN. ,

Defendant.

 

ORDER GRANTING MOTION FOR A_DDITIONAL TIME TO RESPOND

 

Before the court is the plaintiff’s July 12, 2004, unopposed
motion requesting an extension of time within which to file a
response to the defendant's motion for summary judgment. For
good cause shown, the motion is granted. The plaintiff shall
have additional time to and including August 12, 2004, within
which to file a response. n

It; is so ORDERED this 2'°)< day of July, 2004.

_M(///~/z__

SAMUEL H. MAYS, JR.
UNITED STA’I‘ES DIS'I‘RIC'I‘ JUDGE

 

el in 0 l‘lance

¢L

Thls document entered on the docket she
with Hu\e vs andlor ?'9(3) FRCP on

023

DISTRCIT OURT - WESTNER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:03-CV-02846 Was distributed by faX, mail, or direct printing on
.1 uly 21, 2005 to the parties listed.

 

 

Whitney Fogerty

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Frederick .1. LeWis

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

.1 ack L. Halliburton

TAYLOR HALLIBURTON & LEDBETTER
254 Court Ave.

Ste. 303

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

